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                          EXHIBIT E
      Case 4:20-cv-00957-SDJ Document 379-1 Filed 04/16/24 Page 2 of 3 PageID #: 10580
  Message
  From:
  Sent:            6/17/2008 3:26:28 AM
  To:                                         ; Sundar Pichai [            ]
  Subject:         FW: Board Slides


  Let's cover board and earnings readyiness at next staff too.


  From: Sundar Pichai [                             ]
  Sent: Sunday, June 15, 2008 9:34 PM
  To:
  Cc:
  Subject: Board Slides

  Jonathan,

  The board slides team comprising Biz Ops with              and         and Product with         ,      and
  has been reconstituted to work on the product/eng section of the board slides. The proposed outline is below
  which covers the main "staples" as well as key current initiatives (that rotate quarterly). We will reach out to
  your staff to confirm this agenda. Let us know if you have any questions/ suggestions. We are also closely in
  touch with              and team on all of this

  As before you can reach all of us at

  Sundar

  Product/Eng BOD Outline
  Staples:
  •          Core Search (Quality, Share, Competitive analysis etc)
  •          Core Ads (Quality, Metrics, Competitive analysis etc)
  •          International (EMEA and APLA)
  Special Topics
  •          DoubleClick - Update and product integration plans and time-lines
  •          Enterprise Apps
  •          You Tube (focus on Monetization)
  •          Social - Open Social, Friends, Updates and iGoogle Social
  •          Developer products (AppEngine and Google IO)
  •          Mobile
  •          Checkout
  •          Focus Area Reviews/Regional Reviews
  Topics we considered but deferred to next quarter
  •          Geo
  •          Infrastructure
  •          Client/Chrome
  Timeline




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      Case 4:20-cv-00957-SDJ Document 379-1 Filed 04/16/24 Page 3 of 3 PageID #: 10581
  •        6/15: Send proposed topics and timeline to
  •        6/23: Draft sent to
  •        6/26: Revised near final draft for   , legal/competition review
  •        6/30: Final slides due to Legal




  Sundar Pichai
  Googlelnc.

  Voice:
  Email:




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